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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                        Case # 3:06cr96-001LAC

JEANETTE AILEEN MCPHERSON
                                                            USM # 06470-017

                                                            Defendant’s Attorney:
                                                            Robert Dennis (AFPD)
                                                            3 West Garden Street, Suite 200
                                                            Pensacola, Florida 32502
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count One of the Indictment on February 8, 2007. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:

       TITLE/SECTION                         NATURE OF              DATE OFFENSE
          NUM BER                             OFFENSE                CONC LUDED               COUNT

 18 U.S.C. §§ 157 and 2           Bankruptcy Fraud                 September 11, 2002          One

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts Two and Three are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                                            Date of Imposition of Sentence:
                                                            April 24, 2007




                                                            s /L.A. Collier
                                                            LACEY A. COLLIER
                                                            SENIOR UNITED STATES DISTRICT JUDGE

                                                            April 30, 2007
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                                                      PROBATION

         The defendant is hereby placed on probation for a term of 5 years as to Count One.

          While on probation, the defendant shall not commit another federal, state, or local crime
and shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall
also comply with the standard conditions that have been adopted by this court (set forth below).
If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that
the defendant pay any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from placement on probation and at least two periodic drug tests thereafter, as
directed by the probation officer.

      The above drug testing condition is suspended based on the Court’s determination that the
defendant poses a low risk of future substance abuse.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       Th e de fendan t shall notify the pro bation office r at leas t 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphern alia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
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         ass ociate with an y person c onvicted o f a felony unless gran ted perm ission to do so by the probation
         officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant sh all notify the pro bation officer within 72 hou rs of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreem ent to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directe d by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal histo ry or characteristic s and shall perm it
         the prob ation o fficer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in ac cordan ce w ith the S che dule of Paym ents set forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                              ADDITIONAL CONDITIONS OF PROBATION

         Th e de fendan t shall also co m ply with the following ad ditional cond itions of probation :

         The defendant shall participate in a program of m enta l health treatment to include counseling and/or
         treatment for possible gambling addiction.

         Any unpaid restitution balance shall become a condition of the defendant’s term of probation, and the
         defendant shall mak e monthly installment payments of not less than $25 0.00 per m onth , to
         com m enc e thirty days from date of jud gm ent.

         The defendant shall provide the probation office with access to any requested financial information
         and report the source and amount of personal and/or business income and financial assets to the
         prob ation o fficer as directed.

         The defendan t shall not incur new credit charges or ope n additional lines of credit without the
         app rova l of the p roba tion officer u nless the defe nda nt has sa tisfied h er restitution o bligation .

         The defendant sh all not transfer or dispose of any asset, or her interest in any asset, without the prior
         app rova l of the p roba tion officer u nless the defe nda nt has sa tisfied h er restitution o bligation .

         The defendant shall provide to the probation officer, w ithin the firs t three m onth s of p roba tion, a
         doc tor’s statem ent that indicates the defenda nt is ph ysically able to drive.

         The State of Florida Drivers License Division must certify that the defendant is able to drive and the
         defendant must com ply with their findings.
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                 Upon a finding of a violation of probation or supervised release, I understand the
         Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
         conditions of supervision.
                 These conditions have been read to me. I fully understand the conditions and have
         been provided a copy of them.




                   Defendant                                                     Date




         U.S. Probation Officer/Designated Witness                       Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                                              Restitution

               $100.00                                                                $36,478.38

                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed and is to be paid immediately.

No fine imposed.

                                                     RESTITUTION

Restitution in the amount of $36,478.38 is imposed ( jointly and severally with co-defendant
Tommy Eugene McPherson)

The Court hereby waives interest on the restitution.

The defendant shall make restitution to the following victims in the amounts listed below.

AMOUNT OF RESTITUTION ORDERED and NAME OF PAYEE:

$25.00 to American Medical Response South, 12020 Intraplex Parkway, Gulfport, MS, 39503-4602,
Attn: Financial Manager

$91.00 to Biloxi Physician Services, P.O. Box 1340, Biloxi, MS, 39533-1340, Attn: Financial
Manager
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 AMOUNT OF RESTITUTION ORDERED and NAME OF PAYEE:


 $200.00 to Biloxi Regional Medical Center, P.O. Box 128, Biloxi, MS, 39533,
 Attn: Financial Manager

  $705.00 to Coast Cardiovascular Consultants, 1720-A Medical Park Drive, Suite
 340, Biloxi, MS, 39532, Attn: Financial Manager

  $16,767.63 to First USA Bank NA, P.O. Box 15153, Wilmington, DE, 19886-
 5153, Attn: Financial Manager

 $14,948.20 to MBNA America, P.O. Box 15026, Wilmington, DE, 19850-5026,
 Attn: Financial Manager

  $25.00 to Mobile Medical Ambulance Service, P.O. Box 198408, Atlanta, GA,
 30384-8408, Attn: Financial Manager

  $355.00 to Professional Pathology Associates, P.O. Box 1936, Biloxi, MS,
 39533-1936, Attn: Financial Manager

 $2,000.00 to Roberts Chiropractic Center, 730 New Warrington Road, Pensacola,
 FL, 32506-4247, Attn: Financial Manager

  $422.00 to Schumacher Group of Arkansas, P.O. Box 2929, San Antonio, TX,
 78299-2929, Attn: Financial Manager

  $242.55 to Voicestream Wireless, P.O. Box 742596, Cincinnati, OH, 45274-
 2596, Attn: Financial Manager

 $697.00 to West Florida Medical Center Clinic, 833 North Davis Highway,
 Pensacola, FL, 32514, Attn: Financial Manager.




       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the defendant
the court authorizes those payments to be made to the victims on a rotating basis.
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       The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.


                                          SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
$36,578.38 immediately, balance due as related below:

Breakdown of fine and other criminal penalties is as follows:
       SMA: $100.00 Restitution: $36,478.38

The $100.00 monetary assessment shall be paid immediately. The remaining balance shall be
paid as follows: In monthly installments of not less than $250.00 over a period of the 5 years
probation to commence 30 days from date of judgment.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
